    Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                 Page 1 of 11 PageID 91



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

  M.F, a minor, by and through his father, §
  MICHAEL FISHER, and his mother, S
  KATHERINE FISHER,                        S
                                           §
        Plaintiff,                         §
                                           §
  vs.                                      $           CIVIL ACTION NO. 4:23-cv-01102-O
                                                  $
  CARROLL INDEPENDENT SCHOOL                      §
  DISTRICT, WHITNEY WHEELER, in
  her individual capacity as Principal of
  Durham Intermediate School, and KIM
  RAY, in her individual capacity and
  capacity as Assistant Principal and
  Campus Behavior Coordinator of
  Durham Intermediate School,

         Defendants.


                           AFFIDAVIT OF WHITNEY WHEELER


       Before me, the undersigned authority, personally appeared Whitney Wheeler, who, being

by me duly sworn, deposed as follows:

       "My name is Whitney Wheeler, I am of sound mind, over 21 years of age, capable of

making this affidavit, and personally acquainted with the facts herein stated:


   1. On Friday, October 27, 2023, a DAEP placement bearing was held for M.F. at Durham
      Intermediate School at 12:30 p.m. Present were me, Assistant Principal Kim Ray, SRO
      Wormley, Counsel for the District, Katie Pestcoe, M.F., his mother, Katherine Fisher, his
      father Michael Fisher, his grandfather, Michael Fisher, and their attorney, Griffin Rubin.
      During the course of this hearing, the District presented the evidence we had obtained in
      investigating a bullying/cyberbullying incident that was the subject of this disciplinary
      hearing. Then M.F. was provided with the opportunity to present his case. During bis
      presentation, M.F. was presented with two screenshots of posts on a fake TikTok account
      that included images oftwo other students, Minor #1 and Minor #2, with writing over top

                                                                                     EXHIBIT "A"
Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                Page 2 of 11 PageID 92



    of the images. M.F. admitted to creating the image, writing the statements, making the post
    ofMinor #l, and making a post about himself. Additionally, be admitted that while he did
    not create the image or write the statements related to Minor #2, he was present when they
    were created, and they were posted from the same account on his personal phone. It was
    confirmed at this hearing that these posts were made from this TikTok account on Friday,
    October 20, 2023, in the after-school evening hours.

2. The campus was not made aware ofthe falsely created TikTok account, nor any issues or
   incidents relating to the posts, until Monday, October 23, 2023. During our campus
   leadership meeting on Monday, October 23, 2023, Ms. Ray, Assistant Principal, Ms.
   Weinlein, Counselor, and myself as the Principal, were discussing the week ahead when
   Ms. Weinlein shared that she had received an email from the mother of Minor #l asking if
   the campus was aware of the Durham LaLaBop TikTok account. At that time, neither Ms.
   Ray, Ms. Weinlein, nor myself knew about the LaLaBop trend as we do not have TikTok
   accounts.

3. In the email to Ms. Weinlein and myself, the mother of Minor #1 shared the post about her
   son with us. Our Admin team reviewed the picture, but at that time, agreed that it would
   be best for the counselor to reach out to the mother to see if the student needed extra
   support. As a team, we also discussed the fact that the post was made over the weekend,
   and hoped it was on a personal device.

4. Post #1 was a picture ofMinor #1 with the statement, '[Minor #1] sucks at sports and is so
   ugly. He meatrides [student] amd nobody likes him he is super dumb and as smart as
   [student] which isnt saying much. His ugly side oart looks terrible and idk how he pulled
   [student] but seeing as how [student] looks im not surprised she said yes'. A true and
   correct copy of Post #1 is attached as Exhibit #1 to this Affidavit. Exhibit #I has been
   redacted to protect identifiable student information as required by FERPA.

5. Prior to receiving an email from the mother ofMinor #2, students started to approach our
   Admin team in the halls and in the cafeteria to ask ifwe knew about the posts/trend/hurtful
   comments. In listening, we heard students making fun of Minor #2 for being fat and
   discussing a dating relationship/rejection of Minor #1. While speaking with students and
   inquiring about how they knew about the TikTok posts regarding Minor #1 and Minor #2,
   we were alerted to a text group (Durham PPL) that at times included up to 70 students. It
   was then we learned that the TikTok posts were being screenshotted and shared within the
   group text.

6. Post #2 was a picture of Minor #2 with the statement, '[Minor #2] is a very fat girl and
   struggles to hold her self back from the buffet table and she likes [student] and the only


                                            2
Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                  Page 3 of 11 PageID 93



    person she has managed to pull is [student] she is so bad at volleyball but it makes sense
    because shes so fat she cant move around [Minor #2] is as chubby as a bean bag she talks
    crap about everyone and she said [student] is a stupid curry muncher who makes out with
    her fake bf [Minor #2] is the roumor queen.' A true and correct copy of Post #2 is attached
    as Exhibit #2 to this Affidavit. Exhibit #2 has been redacted to protect identifiable student
    information as required by FERPA.

7. The 6th grade section of our campus was 'a buzz' about the TikTok posts, and our Admin
   team was informed that students were upset about the posts, and that finger pointing was
   taking place. We also learned that students were openly sharing projections of who
   could/could not have made the posts based on who they knew had social media;
   specifically, TikTok accounts. In speaking with a student who was adding commotion to
   the hallways regarding the online posts, he shared that he felt an innocent student had his
   picture used as the TikTok account holder, and that he did not believe that student was
   involved. At that time, the student attempted to show me the TikTok account, but
   everything was either blocked or deleted. Not knowing about the trend, Ms. Ray and I
   researched 'LaLaBop'. After reviewing the images from both parent emails, listening to
   students, and realizing this situation was creating a substantial disruption to the school day,
   our Admin team met and determined that we needed to check into the original TikTok
   posts. Due to time constraints, I was only able to speak with one student and check on
   Minor #2 before it was the end ofthe school day.

8. On Tuesday, October 24, 2023, near the end of the C lunch period, the District SRO,
   Officer Wormley, approached Ms. Ray in the hallway and said that he needed her to follow
   him to his office. According to Ms. Ray, Officer Wormley shared with her that he bad two
   boys in his office that admitted to making the TikTok posts. When Ms. Ray walked into
   the SRO's office, M.F. and [Minor #3] were sitting in the chairs near Wormley's desk. Ms.
   Ray said, 'hey guys, what's going on?' The boys said, 'we told Officer Wormley that we
   made the TikTok posts.' Ms. Ray then walked both boys to the main office suite, and
   following district practices had both students write their statements. A true and correct copy
   ofM.F.'s statement is attached hereto as Exhibit #3. Exhibit #3 has been redacted to protect
   identifiable student information as required by FERPA.

9. While M.F. was in Ms. Ray's office, Ms. Ray spoke with him about how his words could
   be hurtful to others, and how it was important to be truthful. Ms. Ray then began to ask
   clarifying questions while reading his statement. At one point, I entered the office and later
   inquired as to how a post was created about him. M.F. said that he created one (LaLaBop)
   about himself, but that he took down the post quickly thereafter. M.F. also shared that
   Minor #3 made a post about himself, too. I asked M.F. ifhe felt that what he wrote about
   himself was true or ifhe was being sneaky about who was posting. M.F. just looked at me.


                                             3
Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                 Page 4 of 11 PageID 94



    In his written and verbal statement, M.F. confirmed that he used his personal device to
    make the TikTok posts prior to me leaving the office.

10. CISD personnel did not conduct/lead the initial investigation. Instead, student interviews
    were unknowingly conducted by Officer Wormley, campus SRO with Southlake Police
    Department. The District later found out that this police investigation was conducted as a
    part of a separate felony complaint filed with the local police department that also related
    to the TikTok posts. Throughout the course of his investigation, Officer Wormley
    determined that M.F. and Minor #3 created the posts. At the conclusion of his
    investigation, general information highlighting his findings was later shared with Kim Ray,
    Assistant Principal. I was not aware that Officer Wormley was investigating the TikTok
    posts until Ms. Ray came to speak with me regarding Officer Wormley's involvement. It
    was then that I also learned that Officer Wormley had been pulling students and gathering
    information regarding the online posts while acting on authority from his supervisor at the
    Southlake Police Department.

11. Officer Wormley shared that a Durham Intermediate parent, had been to the Southlake
    Police station attempting to file a report regarding the fraudulent use of his son's picture
    on the fake TikTok account. It was then that Officer Wormley informed Ms. Ray and me
    that he was asked by bis supervisor (Sargent D'Amico) to investigate this claim and to
    write an official report for the Southlake Police Department to use as a part of their
    investigation into the matter.

12. Officer Wormely shared that he interviewed 20-25 students throughout the school day on
    Tuesday, October 24, 2023. Moreover, those specific students were pulled from
    instructional learning to provide information regarding their knowledge of the created
    TikTok account/posts. With students missing instructional minutes, learning was impacted.
    While students were consistently being pulled from classes, teachers had to manage the
    constant disruption of answering the phone for the requested student(s). Additionally,
    teachers were tasked with reteaching lessons to ensure students learned the material missed
    while meeting with Officer Wormely.

13. Teachers struggled to effectively educate and control classrooms/hallways due to the
    disruptive nature of students being physically and emotionally affected by and distracted
    by these TikTok posts. In addition, while Officer Wormley was interviewing students, he
    was not completing his needed tasks to ensure the safety of our campus. Specifically, the
    investigation took him away from completing required door safety checks, monitoring
    lunch/recess, and being a steady presence on campus.




                                            4
Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                Page 5 of 11 PageID 95



14. Later in the afternoon of Tuesday, October 24, 2023, the Admin team alongside Officer
    Wormley met with the mother and father of Minor #1 and the father of Minor #2 at their
    request. During the meeting, Minor #1 'smother shared her personal investigation notes
    with the team. She, too, had come to the conclusion regarding who she felt had most likely
    made the posts (incorrectly including an additional possible student). The mother of Minor
    #1 then shared documentation which included additional text messages, social media posts,
    etc. for the campus team to review/consider. During the parent conference, the mother of
    Minor #1 requested a bullying and sexual harassment investigation be completed due to
    the use of the sexual term 'meatrides' in the public post about her son. Our team shared
    that we could launch both investigations; however, after reviewing the definitions of both
    terms from the CISD website, it was discussed that the information provided was more
    aligned with a bullying investigation than a Title IX or sexual harassment investigation.
    The mother and father of Minor #1 and the father of Minor #2 then shared that they wouId
    like a formal bullying investigation conducted by the school prior to them making further
    decisions, i.e., contacting and potentially filing a report with the Southlake Police
    Department. Following District protocol, for bullying investigations and evaluating off-
    campus speech that causes a substantial disruption to the educational environment, we
    shared that we would launch an official bullying investigation. Lastly, I shared that we
    would email our official 3-day notice letters within the mandated time frame. Parents were
    satisfied with this plan of action as evidenced by follow up emails.

15. While meeting with the Mother of Minor #1, she shared screenshots which included a
    particularly disturbing statement. A student wrote, 'i hope you know im 5 seconds away
    from stabbing myself because of you.' Then, messages about the student wanting to cause
    self-hann were shared in the 'Durham PPL' chat as students were discussing the TikTok
    posts and ongoing investigation. Understandably, this information was upsetting, and
    immediately set the campus Crisis Team into action. This student was pulled from
    instruction to meet with me, and we discussed the post. The student shared that although
    he did not intend to harm himself, he made the comment to get the other students to leave
    him alone. The student then spoke with the campus counselor and the parent was contacted.
    Since the well-being of our students is our top priority, we intentionally took time to
    connect with this student.

16. While continuing to address student concerns, there were 3 students who were not directly
    involved in creating/publishing the TikTok posts, but shared they felt negative pressure
    from their peers on Monday (10/23) and Tuesday (10/24) as they were being blamed for
    the shameful comments. One student shared that the DIS LaLaBop account holder
    messaged others (and it was shared in the text group), that the owner of the account had a
    name that started with a 'Hu'. Students immediately began blaming a student with 'Hu' in
    his name resulting in him being scared that he would be in trouble, and apprehensive


                                            5
Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                  Page 6 of 11 PageID 96



    waiting to be called down by Officer Wormley. Furthermore, this student shared that 'I
    cannot believe M.F. blamed me because we played football together. I don't want to be
    friends with him anymore because it was so mean.' Again, this student shared that he was
    bothered that he was being blamed. Another student being rumored to have been involved
    shared that 'someone said it was me and it wasn't.' He went on to share that he was pulled
    from instruction twice by Officer Wormley and questioned about the ownership of the
    TikTok account. The student shared that he was upset and felt like he was being 'blamed
    by everyone' He also said, 'I went to school, and everyone was talking about it and was
    blaming me.'

17. Additionally, this student admitted that he did not focus on learning the remainder of the
    day as he was scared to return to Officer Wormely's office, Lastly, the parents of a student
    who had his image falsely used, garnered substantial time from district personnel.
    Specifically, I spoke with this student's mother and father at separate times regarding the
    incident and listened to their disgust for the hatefulness and misuse of their son's identity.
    Additionally, the father spoke with and emailed district administrators multiple times
    expressing his concerns about the implications of using his son's image and its impact on
    his son's and their families reputation. Furthermore, this parent went to the Southlake
    Police Department and spoke with an officer about filing a criminal charge against the
    perpetrator(s). Lastly, the father of this student has spoken with Officer Wormley on
    multiple occasions regarding his continued concerns and desire for a complete police
    report. Again, all of these conversations distracted all parties from their needed work as a
    result of the LaLaBop account being created and posting inappropriate, racist, and
    demeaning comments about minors.

18. Taking into consideration the heightened excitement from all 6th grade students regarding
    the TikTok posts, both students and teachers shared that the focus at school on both
    Monday (10/23) and Tuesday (10/24) was not on learning, but instead on discussing the
    posts, their negative impact on the victims, students theorizing who might have written the
    posts, and the desire for the student(s) who made the posts to take ownership of their
    actions.

19. As a campus, we immediately began to receive communication from Durham parents as
    well as CISD community members concerning their perspective regarding the actions of
    M.F. and Minor #3 and their desired discipline/expulsion outcomes.

20. One parent wrote the following statement regarding M.F. and Minor #3 and their actions:
    'The heinous, mean spirited, vile, mischievous rumors and falsehoods are destructive to
    our students. this is not isolated to this TikTok platform. When screenshots ofthe TikTok
    posts and conversations regarding them make their way into the student group text, these


                                             6
Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                   Page 7 of 11 PageID 97



   same individuals continued to communicate destructive harmful comments on this group
   text with fellow Durham students. It is past time for their actions to have serious
   consequences. I believe in second chances however, the perpetrators of this abusive
   conduct have a long history of maliciousness.'

21. Another parent wrote: 'How can we ensure that ACTUAL disciplinary measures beyond
     ANOTHER suspension will be taken? Also, the kids all know about this and so many
     stories are being circulated. Will this be addressed? How are you going to protect my
     child?' Another parent wrote: 'There are so many horrible, well-thought out, planned,
     premeditated statements in this that the father of this child took to social media to call out
     the aggressor and within minutes, our small town figured out Minor #3 created a fake
     TikTok account to ruin innocent children at school Do yon know more women and girls
    die from eating disorders than breast cancer in the US? Ironically, before any ofyou worked
     in Carroll, a counselor at DIS, died of an eating disorder years ago. It is astonishing a boy
    can fat shame, humiliate, and aggrieve a fellow student in 2023 and all he gets is a three-
    day slap ofno school. You've no idea how this can affect this young girls now and beyond
    and to be targeted by a peer and splashed all over social media. How can any of you
    confidently look this child in the eye where she has to be in the same building as someone
    who would maliciously target her self-worth, her body, her personhood?...A similar
    situation occurred with a boy and girl on social media last winter and the boy was swiftly
    kicked out and off to a local private school. What kind of message are you sending when
    this tormentor keeps getting a free pass? Why have a code of conduct? Are you aware
    these posts are going round the Indian community's Whatsapp group? What do you say to
    them as he discriminates and has racist language to their community--even calling one girl
    by name? What if the Mike Fictionbaugh's of the world get a hold of these like the 2018
    deal and yall sit on your hands afraid to actually enforce the code ofconduct? You have an
    ineffective leader at the helm of that school and this student is blazen in his disregard for
   authority, respect for others and safety of others. I can't wait for my son to be off this
   campus. My older three boys have had a slew of different teachers and admin on that
   campus. Multiple children are tormented and abused by [Minor #3] and your silence speaks
   volumes--it perpetuates our bad reputation because you aren't actually doing anything to
   protect innocent children. If one child creates this much abuse towards others, it is your
   actual job to protect the majority of the student body, the victims from his latest crime.
   Your salaries are paid by us--the taxpayer. We send our most precious children to school
   each day, under your care and supervision--hence you make more than the average teacher-
   -you must be willing to make hard decisions including this one: expelling a perpetual bully
   harasser/tormentor. Most positions in CISD post 2021 looks different. Anyone is
   replaceable. The leaders who remain the same are competent. There are many campuses
   and admin positions that look different and I can say unequivocally that DIS needs new
   leadership if Minor #3 is allowed to remain on campus.'


                                              7
Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                  Page 8 of 11 PageID 98




22. Another parent wrote, 'his behavior has damaged the juvenile psyche of so many children.
    One student whose family we know was so emotionally distraught by Minor #3 that their
    entire family left CISD. That alone is tragic. While CISD cannot do anything about the
    manner in which Minor #3 parents handle their child, they should be able to do everything
    about the torment he causes on CISD campuses to CISD students, teachers and
    administration ...This must end now, he must be expelled and not allowed to return to
    CISD. Do not be intimidated by legal action by their family, remove him from the district
    immediately. Too many Dragon families are closely watching this situation for CISD to
    mess this up.'

23. Lastly and most heartbreaking, a parent wrote, 'Wheeler, you are a disgrace to the entire
    teaching profession and here is why. YOU are in charge of 800 5th and 6th graders, each
    with their own set ofeyes, heart and mind ... It is akin to Hamas getting lauded and rewarded
    for taking Israeli hostages. You DO NOT reward the abuser!! You cancel his behavior and
    set the standard that this sexual, body-shaming, misogynistic, racist, and direct targets
    towards specific students will, under no circumstances, be tolerated on your watch or we,
    the parents of said precious children, will raise enough hell to cancel you to find someone
    who can protect our precious children.' These comments are questioning not only my
    ability to successfully lead a campus, but my true love for my campus and the students
    within the four walls. These words have shaken me to the core but should be directed at
    the parents of M.F. who put our students, the Durham community, our staff, and myself in
    this position.

24. Additionally, the actions of M.F. and Minor #3 began trending on Facebook. Specifically,
    two big posts have garnered great attention from our community resulting in disparaging
    comments about both the campus and district administration. Sadly, many comments are
    not factual resulting in tarnished reputations. Personally, I have been yelled at and spoken
    to very harshly regarding the incident. Parents are furious that the boys are not being
    expelled and are being provided an opportunity to return to Durham as they will again have
    the ability to victimize students and staff.

25. In addition to carpool line comments, emails, and social media posts, countless parents
    have also called the campus and shared their concerns regarding the egregious posts thus
    taking time away from secretarial and administration staff. Returning these phone calls
    has not only resulted in time away from students and staff but taken away from my family
    as I have remained on campus past 9:00pm each night for the past week attempting to do
    damage control. Additionally, as a result of the countless phone calls, desired parent
    meetings, and emails, district personnel worked together to create an email which was sent



                                             8
 Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                  Page 9 of 11 PageID 99



     to all Durham families regarding the investigation and the significant and substantial
     impact on the campus learning operation and daily operations.

 26. In dealing with this situation, Ms. Ray and I have had to cancel meetings, neglect our other
     students and teachers' needs, and been challenged to provide appropriate supervision per
     our daily duties as we are responding to public outcry. Due to the conflict and um-est in our
     community we are unable to reasonably keep up with emails and phone calls that are being
     received by community members who want to weigh in on the situation, much less the
     typical emails, phone calls and communication needed to effectively run a school building.
     Lastly, I canceled 3 previously scheduled parent meetings, 2 teacher observations, and had
     to alter my assigned duties to sit at the courthouse on Monday, October 30, 2023. While
     there, I was not able to use my technology or work on tasks as we waited for M.F. 's lawyer
     to arrive as stated in communication with my counsel thus causing further disruption to the
     daily operations ofDurham Intermediate.

27. To complicate matters, immediate relatives of M.F. and Minor #3 are both substitute
    teachers for Carroll ISD. At this time, the parents of 8 different students have formally
    requested that neither individual substitute in their childrens' classrooms. Alarmed parents
    have shared that they are concerned for the well-being oftheir children while in these two
    individuals' care during the school day. They also have questioned the ability of them to
    maintain a safe and nurturing environment at school after filing a lawsuit against myself
    and Ms. Ray, which further speaks to their lack of character and integrity as perceived and
    shared by multiple stakeholders as described by a parent most recently.

28. Furthermore, I have been publicly humiliated, berated and slandered on social media and
    in conversations throughout the community. I have also been accused of favoring these
    families and showing leniency regarding their children's punishment. Parents are appalled
    and horrified that the family of M.F. is choosing to file a lawsuit against me instead of
    owning the actions of their son. In fact, multiple parents have offered to support my legal
    needs with expertise and finances, to which these offers were declined. In dealing with this
    situation, I have missed a family birthday celebration, was unable to attend a memorial
    service without constant interruptions, have had to reschedule weekend vacation plans,
    have lost countless hours of sleep, and missed an appointment due to the stress/time
    commitment of dealing with this issue. The mistruths within this lawsuit and the constant
    bullying from the community have taken a toll on my mental health and overall well-being.
   It is unbelievable to me that I have been pulled into this situation when the student clearly
   admitted to bis actions.

29. As a part of the investigation, Ms. Ray and I called and consulted with Mr. Nickel, CISD
    Student Services, regarding the LaLaBop posts. During that phone call, Ms. Ray and I


                                              9
Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23                 Page 10 of 11 PageID 100



    shared M.F. and Minor #3's statements and evidence/information gathered regarding the
    TikTok posts and the student group text chat. At that time, Mr. Nickel shared that in
    listening to the information gathered, the burden of proof/the definition of
    bullying/violation ofDavid's Law had been met and we were authorized-and required-
    to enact appropriate discipline. Additionally, since we were aware ofthis entire issue began
    with off-campus speech, determined there was a clear and substantial disruption to the
    educational environment and reviewed relevant laws, policies, and legal precedent prior to
    taking action.

30. After thoroughly reviewing the written statements made by M.F. and Minor #3, as well as
    the documentation provided by the mother of Minor #1, both M.F. and Minor #3 were
    placed on out-of-school   suspension   while or   Admin team met to discuss next steps   We
   discussed the intent or lack ofintent at the time M.F. engaged in the conduct, the severity
   and effect of the conduct, and his discipline history. We also noted that there is not a
   documented disability that substantially impairs M.F's capacity to appreciate the
   wrongfulness of his conduct. Lastly, we reviewed the definition of bullying and
   cyberbullying per CISD Code of Conduct, FFI (Legal), FFI (Local), and the Texas
   Education Code section 37.0832. It was then concluded that M.F.'s actions met the
   definition ofbullying and cyberbullying, and that the discipline issued should appropriately
   address the significant and substantial disruption to the orderly operation ofour classrooms,
   school environment, and negative impact on the social-emotional well-being of other
   students.

31. Forty-five days is the minimum time for a DAEP placement of this nature, so the District
    gave M.F. a 45-day placement with the opportunity to review early. The placement
    decision of45 school days with the opportunity for review at 33 school days was allowable
    considering the extent of M.F.'s actions which grossly impacted the entire campus at many
    levels to include the detrimental effects on the individual victimized students. By offering
    a review at 33 school days, this would allow M.F. to successfully complete the current
    grading period without interruptions or additional transitions which would affect his
    learning. Furthermore, it would lead to a transition back to Durham at a natural break in
    the school calendar while also affording M.F. the opportunity to return with a fresh start in
    the new calendar year.

   FURTHER AFFIANT SAYETH NOT.




                                              10
  Case 4:23-cv-01102-O Document 8-1 Filed 11/02/23   Page 11 of 11 PageID 101



SWORN TO AND SUBSCRIBED before me on the 2" day ofNovember 2023.
                                                                   '

                                   sell±.
My commission expires:




                                     11
